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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :      CRIMINAL ACTION
                                                       :
       VS.                                             :
                                                       :
BAHAA DAWARA                                           :     CASE. NO. 414-2019


                                  MOTION FOR DISCOVERY

       Comes Now, Bahaa Dawara, appellant, by his attorney, Gerald A. Stein, and moves to for

discovery of un-redacted witness statements of civilian witnesses so that counsel for defendant

can have access to addresses of witnesses and/or information to aid in locating witnesses in order

to prepare for trial, and in support thereof represents:

       1.      Movant is charged with Arson, and various other related charges.

       2.      Numerous reports describing witness statements have been provided to the

               defense, including civilian witnesses. In nearly all instances, civilians addresses,

               birth dates and other identifying information have been redacted from copies of

               reports provided to the defense.

       3.      In order to properly prepare a defense it will be necessary to locate many of the

               witnesses in order to interview and, if appropriate, subpoena same for trial.

               Therefore, an order is sought directing the government to provide un-redacted

               reports of witnesses interviews so that the defense has the ability to locate

               witnesses for interview purposes.
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4.      Counsel agrees that the requested material would be utilized in accordance with

        the previously entered protective order and that the information sought will not be

        disclosed to anyone other than the defense investigator and co-counsel.


                                              Respectfully submitted,

                                              /s/ Gerald A. Stein

                                              GERALD A. STEIN, ESQUIRE
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                                CERTIFICATION OF SERVICE

         Gerald A. Stein, Esquire, hereby certifies that a true and correct copy of the within Notice
of Appeal has been served by first class mail on Jeanine Linehan, Esquire, Assistant United
States Attorney, 615 Chestnut Street, Suite 1250, Philadelphia, Pennsylvania 19106-4476, Chief
Judge Juan Sanchez, Federal Courthouse, 601 Market Street, Philadelphia, PA 19106 and Steven
Patrizio, Esquire, Co-counsel, 2 Penn Center, Suite 1205, 1500 JFK Blvd., Philadelphia, PA
19102.



                                                       /s/ Gerald A. Stein

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Dated: March 6, 2020
